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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA        )
                                )
                                )
v.                              )     Case No. 22-cr-00070
                                )
LUCAS DENNEY                    )
                                )
               Defendant        )
                                )



     DEFENDANT LUCAS DENNEY’S SUPPLMENT TO SENTENCING
                       MEMORANDUM




                                      William L. Shipley, Jr., Esq.
                                      PO Box 745
                                      Kailua, Hawaii 96734
                                      Tel: (808) 228-1341
                                      Email: 808Shipleylaw@gmail.com

                                      Attorney for Defendant
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       The record before this Court for purposes of sentencing does include any

facts determined on the basis of a jury’s verdict. The record before this Court

includes a limited set of factual admission by the Defendant relating directly to

the count of conviction—the assault on Officer KK with the plastic pipe.

       The PSR includes numerous “facts” that rely on source materials

provided by the Government, and the Government seeks to introduce many of

these source materials as evidence for this Count to consider for purposes of

sentencing.

       While these materials may or may not have relevance under 18 U.S.C.

Sec. 3553(c), this material ahould not be considered by this Court for purposes

of determining the correct calculation of the Adjusted Offense Level and

Guideline Range under the United States Sentencing Guidelines.

       Pursuant to Blakely v. Washington, 542 U.S. 296, (2004) and U.S. v.

Booker, 543 U.S. 220 (2005), the only facts a court ahould consider in making

guideline determinations are facts established by a jury verdict or admitted to

by the defendant. Guideline enhancements based on judge-founds facts,

which increase the applicable sentencing range violate the Sixth Amendment

right to a jury trial.

       In Booker, the defendant was convicted by a jury of having distributed at

least 50 grams of crack cocaine. At sentencing, the court found by a

preponderance of the evidence that Booker possessed an additional 566 grams,

and that he obstructed justice. Based on those findings the court sentence

Booker to 360 months.

       The Supreme Court reversing holding:
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            “Any fact (other than a prior conviction) which is necessary to
      support a sentence exceeding the maximum authorized by the facts
      established by a guilty plea or a jury verdict must be admitted by a
      defendant or proved to a jury beyond a reasonable doubt.”
Id.

      A fact is “essential to the punishment” if, absent the finding of fact, the

judge could not impost the given punishment, ie., would be required to impose

a lower sentence.

      The +2 level guideline enhancement for “more than minimal planning” is

wholly dependent on facts that have not been admitted by Denney. They are

not part of the offense of convection, and therefore cannot be the subject of

judicial fact-finding at sentencing in order to increase Denney’s guideline

range.

      Similarly, although Denney admitted to using a dangerous instrument as

an element of the offense, he did not admit to doing so with the intent to cause

bodily injury which is a factual finding necessary to support the +4 level

enhancement when a “dangerous instrument not otherwise a weapon” is

involved in the assault conduct such as is the case here.

      In his affidavit, Mr. Denney denies that he intended to injury Officer KK,

and states that he was attempting to knock the pepper spray device out of his

hands. The video evidence supports his claim in this regard.

      For sentencing purpose, as noted by the Government, the courts initial

obligation is to arrive at the correct calculation under the guidelines.

      The base offense level is 14.

      Two enhancements are not disputed as both are supported by facts

established in the admissions made by Mr. Denney in his guilty plea.
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      1. A +6 enchantment for “official victim.”

      2. A +2 enhancement for conviction under the (b) subparagraph of Sec.

         111.

      Two enhancements recommended by the PSR and sought by the

government require findings of facts that were not part of the admissions made

by Mr. Denney’s as part of his guilty plea and therefore prohibited by Booker

and Blakeley from being judicially determined for purposes of guideline

calculations at sentencing.

      1. A +2 enhancement for “more than minimum planning.”

      2. A +4 enhancement for “use of a deadly weapon.”

      The Court cannot supply the necessary factual findings for these two

enhancements. Therefore, there is an insufficient factual basis upon which to

determine that they should be included in the correct guideline calculation.

      While the Government might claim that current case law in this Circuit

allows for the use of uncharged or aquitted conduct at sentencing, the fact

remains that the Guidelines do not require the Court to do so. Further, the

clear trend in Supreme Court jurisprudence, and the jurisprudence of the D.C.

Circuit, runs against the use of such conduct. This trend cuts across

ideological lines, as it was most forcefully argued by the late Justices Scalia

and Ginsburg, joined by Justice Thomas, it their dissent to denial of certioriari

in Jones v. United States, ___ U.S. ___, 135 S.Ct. 8, 9, 190 L.Ed.2d 279 (2014).

      While on the D.C. Circuit, Justice Kavanaugh expressed similar

unhappiness with the use or uncharged and acquitted conduct at sentencing
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in United States v. Bell, 808 F.3d 926, 929 (D.C. Cir. 2015), where he joined

the quite cogent and persuasive concurrence of Judge Millett in that case:

      Because the Sentencing Guidelines have "force as the framework for
      sentencing," Peugh v. United States, ___ U.S. ___, 133 S.Ct. 2072, 2083,
      186 L.Ed.2d 84 (2013), and because, in the usual case, "the judge will
      use the Guidelines range as the starting point in the analysis and impose
      a sentence within the range," Freeman v. United States, ___ U.S. ___, 131
      S.Ct. 2685, 2692, 180 L.Ed.2d 519 (2011), the Guidelines demark the de
      facto boundaries of a legally authorized sentence in the mine run of
      cases. Given that reality, the Sixth Amendment should not tolerate the
      use of acquitted conduct specifically rejected by the jury to provide the
      required "significant justification" for tripling a defendant's sentence. See
      Jones, 135 S.Ct. at 8-9 (Scalia, J., joined by Thomas and Ginsburg, JJ.,
      dissenting from the denial of certiorari) ("It unavoidably follows that any
      fact necessary to prevent a sentence from being substantively
      unreasonable — thereby exposing the defendant to the longer sentence
      — is an element that must 932*932 be either admitted by the defendant
      or found by the jury. It may not be found by a judge," especially when "a
      jury acquitted them of that offense.").


      As noted by Justice Kavanaugh, just because a sentencing court can

consider uncharged and aquitted conduct does not mean the court should

consider such conduct when making a sentencing determinations. The trend

in jurisprudence runs against judicial fact-finding at trial which undermines a

defendant’s Sixth Amendment rights.

      In considering the Section 3535(a) factors, the Court must do so in two

distinct steps.

      First, the Court must consider the overriding and basic principle that

whatever the sentence imposed, it is “sufficient, but not greater than

necessary” to accomplish the four purposes set forth in 3553(a)(2).

      This initial qualification is an overall limiting factor on the following four

subparagraphs of Sec. 3553(a)(s), as no sentence shall be imposed that is

greater than necessary to address these factors.
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      Even a guideline sentence may be too great under 3553(a) factors if such

a sentence is “greater than necessary” to meet the requirements.

      The guideline range determination is not a presumptively reasonable

sentence, and courts need not justify taking individual cases outside of the

guideline range in an exercise of discretion.



Dated: July 21, 2022                  Respectfully submitted,

                                      /s/ William L. Shipley
                                      William L. Shipley, Jr., Esq.
                                      PO BOX 745
                                      Kailua, Hawaii 96734
                                      Tel: (808) 228-1341
                                      Email: 808Shipleylaw@gmail.com

                                      Attorney for Defendant
